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Of Attorneys for Defendant
JACOB MICHAEL GAINES

                                IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON

                                               PORTLAND DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )            Case No. 3:20-CR-223-IM
                    Plaintiff                     )
                                                  )            DECLARATION OF
              v.                                  )            COUNSEL IN SUPPORT OF
                                                  )            DEFENDANT’S
 JACOB MICHAEL GAINES,                            )            MOTION FOR PRETRIAL
                                                  )            RELEASE
                                                  )
                    Defendant                     )            ORAL ARGUMENT
                                                  )            REQUESTED
 _____________________________                    )

         I, Rosalind M. Lee, hereby declare under penalty of perjury:
    1. I am the attorney of record for Jacob Michael Gaines, the defendant herein;

    2. Dr. Michelle Guyton is a forensic psychologist in Oregon. I am familiar with her

         excellent professional reputation. I have consulted with her in prior cases and know many

         other defense counsel who have worked with her. She formerly worked for the Oregon

         Department of Corrections, and, in addition to running the Northwest Forensic Institute,




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         she is currently the director of the Oregon Forensic Evaluator Training Program. Her bio

         can be found at https://www.nwforensic.org/guyton (last visited November 2, 2020).

    3. I have provided a redacted version of Dr. Guyton’s report to the government and to

         pretrial services. I am electing not to make a copy of the evaluation part of the public

         record at this time due to the highly personal nature of the contents of the report.

    4. I have reviewed Dr. Guyton’s report of her evaluation of Mr. Gaines. Dr. Guyton

         diagnosed Mr. Gaines with major depressive disorder, moderate, ADHD, alcohol use

         disorder, severe, in partial remission in a controlled environment, cannabis use disorder,

         severe, in partial remission in a controlled environment, and hallucinogen use disorder,

         severe, in partial remission due to controlled environment.

    5. Dr. Guyton went on to recommend a psychiatric evaluation and medication management

         and residential substance abuse treatment.

    6. I am informed and believe that Mr. Gaines was provided psychiatric services when he

         was incarcerated at the Inverness Jail, and he was prescribed Vistaril and Zoloft. I am

         further informed and believe that Mr. Gaines was working with staff on the dosing of

         those medications when he was transferred to Columbia County Jail on October 27, 2020.

    7. I am trying to obtain records from Columbia County Jail to determine what medications,

         if any, they are providing Mr. Gaines.

    8. I do not know why Mr. Gaines was transferred from Inverness Jail to Columbia County.

         However, in my experience pretrial detainee in the federal system are often moved from

         one facility to another.

    9. On October 29, 2020, I spoke with Kenneth Vaughn, an employee of Volunteers of

         America of Oregon who runs the Treatment Readiness Program at Inverness Jail. Mr.

         Vaughn is a Certified Drug and Alcohol Counselor and a Qualified Mental Health

         Associate.



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    10. Mr. Vaughn told me that all in-person treatment at the Inverness Jail was cancelled due to

         COVID, but there is programming available to inmates who choose to participate.

    11. Mr. Vaughn also informed me that he completed an assessment of Mr. Gaines to

         determine his suitability for treatment. I have reviewed the assessment completed by Mr.

         Vaughn. In it, Mr. Vaughn concludes that Mr. Gaines is suitable for residential

         treatment.

    12. I am in regular contact with Mr. Gaines’s wife, Dianna Gaines. She informed me that she

         transferred the three firearms in her possession to Downing Guns, LLC, in Cleburne,

         Texas, a licensed Federal Firearms Dealer. Mrs. Gaines provided to me the documents

         included as Exhibit C to this motion.

    13. Mrs. Gaines also told me that she was in an accident while driving the bus that she and

         Mr. Gaines were living in at the time of his arrest in this case. Mrs. Gaines informed me

         that she fell asleep at the wheel and crashed the bus. She suffered minor injuries. She

         informed me that the bus was damaged beyond repair. Finally, she informed me that she

         had found a temporary place to live and is renting a room in a house. She is actively

         looking for a permanent residence, hopefully closer to her job in Tigard.
         I declare under penalty of perjury that the foregoing in true and correct to the best of my

ability, except as to those things stated under information and belief; as to matters stated under

information and belief, I swear under penalty of perjury that I believe those things to be true.

DATED: this the 2nd day of November 2020,



                                                        /s/ Rosalind M. Lee
                                                        Rosalind M. Lee
                                                        Of Attorneys for Defendant Jacob Gaines




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